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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

____________________________________
                                    )
SCOTT BAKER,                        )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )                         Civil Case No. 1:18-cv-00913-PB
                                    )
PAUL MONTRONE, PAUL MEISTER,        )
PERSPECTA TRUST LLC,                )
BAYBERRY FINANCIAL SERVICES         )
CORP., LIBERTY LANE SERVICE         )
COMPANY LLC,                        )
PERSPECTA HOLDINGS LLC,             )
PERSPECTA ENTITIES, LLC and         )
PERSPECTA INVESTMENTS, LLC,         )
                                    )
      Defendants.                   )
____________________________________)


                               STIPULATION OF DISMISSAL

       The Parties, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), stipulate to the dismissal of this

case with prejudice and with all rights of appeal waived.

                                                      Respectfully submitted,

                                                      SCOTT BAKER, Plaintiff
                                                      By His Attorneys,


Date: April 1, 2020                           By:     /s/ Jennifer B. Furey
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                                                      Jennifer L. Mikels (BBO # 682199)
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Dated: April 1, 2020                    By:   /s/ Beth A. Deragon
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                                        AND

                                              PAUL MONTRONE, PAUL MEISTER,
                                              PERSPECTA TRUST LLC,
                                              BAYBERRY FINANCIAL SERVICES
                                              CORP., LIBERTY LANE
                                              SERVICE COMPANY LLC,
                                              PERSPECTA HOLDINGS LLC,
                                              PERSPECTA ENTITIES, LLC and
                                              PERSPECTA INVESTMENTS, LLC,
                                              Defendants

                                              By Their Attorneys,
                                              JACKSON LEWIS P.C.

Date: April 1, 2020                     By:   /s/ Martha Van Oot
                                              Debra Weiss Ford (NHBA # 2687)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the above document filed through the ECF system
will be sent electronically to the registered participants identified on the Notice of Electronic
Filing System.


Dated: April 1, 2020                           /s/ Jennifer B. Furey




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